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                       IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF COLUMBIA

    Mehrangiz Kar and Azadeh Pourzand,

                                    Plaintiffs,

                          vs.                        Case Number: 1:19-cv-02070-JDB

    The Islamic Republic of Iran et al.;

                                   Defendants.


                           DECLARATION OF GLEB ZHUKOV

COMES NOW Glebs Zukovs and states as follows:

       1.      I am a citizen of the United States of America and of Latvia.

       2.      I am the husband of Azadeh Pourzand.

       3.      I am a business consultant by profession, currently working as a risk management

advisor at Gartner, a US-based consulting firm. I have a Bachelor’s degree from European

University Viadrina in Germany and an MBA from Nyenrode Business University in the

Netherlands.

       4.      I met Azadeh Pourzand in August 2010 while attending a campus weekend for an

MBA program at Nyenrode Business University in the Netherlands. Both of us subsequently

enrolled in this program and started it in September 2010. We began dating later that year and got

married in Washington DC in January 2014. We just had our first child born in November 2020.

       5.      Ever since meeting Azadeh, I felt that I could relate to the story of her family –

which in a way reminded me of the past of my own family. This is a story of a changing regime

and consequent persecution of people who are not onboard with the new regime – or are deemed

to be inconvenient to the new regime. Throughout numerous conversations with Azadeh in the
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beginning of our studies in the Netherlands, I got to know that both her father and mother were

repeatedly arrested by the Iranian government for political reasons. I learned that while Azadeh

and her mom had left the country and settled down in the United States, her father was still in Iran.

I learned that a few years before I met Azadeh, her father was kidnapped by the Iranian government

and his family didn’t know about his whereabouts – and that it took relentless work by Azadeh

and her mom to raise awareness about his case among international institutions and foreign

governments. As a result of their tireless efforts, the Iranian government admitted that her father

was in jail. On-and-off imprisonment and torture of Azadeh’s father by the Iranian regime

continued while Azadeh was finishing high school in Maryland and then later when studying for

her Bachelor’s degree in Ohio and for an MPP degree from the Harvard Kennedy School.

       6.      I was with Azadeh in April 2011 when she received a phone call from her family

informing her that her father died. We were sitting in a café in Utrecht when she got this terrifying

news. It happened in the middle of our MBA program – when we were just getting started with

the main module of our program – entrepreneurship.

       7.      It goes without saying, her father’s death had an enormous impact on her studies.

She had to skip half of the main module of our program in order to attend her father’s memorial in

Toronto (without even being able to attend his funeral in Iran). Upon returning to the Netherlands,

she started working on the main project for this module – which turned out to be a foundation in

her father’s name, The Siamak Pourzand Foundation. While other people (including me) were

focusing on fun and profitable business ideas, Azadeh was working on a not-for-profit idea for a

foundation, the aim of which would be to strengthen freedom of speech and help marginalized

communities in countries like Iran.
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       8.      Generally speaking, when I met Azadeh in August 2010, she didn’t seem to be your

ordinary MBA candidate – with her interests lying mostly in human rights and civil society. At the

same time, I got to know Azadeh as a very ambitious person who was constantly working hard to

build her career. Azadeh is a highly educated and successful individual, having worked in leading

civil society institutions in Washington, D.C. and London and having built her own successful

foundation in her father’s name. At the same time, I believe that her career path has been somewhat

narrowed down by her father’s story. The degrees Azadeh has as well as the knowledge and skills

she has developed offer a wide range of career opportunities in different environments including

corporate. However, due to what happened to her father, Azadeh feels obligated to work on human

rights and civil society issues in order to continue his work and legacy.

       9.      While the foundation Azadeh runs has been quite a successful enterprise in the past

several years, receiving multiple grants from various donors every year, it has not been easy for

Azadeh to deal with the emotional luggage connected to it. With the Foundation bearing her

father’s name, Azadeh has to confront the past and what happened to her father almost on a daily

basis. From time to time, when we discuss the Foundation and the projects we are working on,

Azadeh just breaks down, unable to work or even hold a Foundation-related conversation. Even

before her father’s death, I’ve seen Azadeh crying multiple times a day because of the situation he

was in. The impact on Azadeh’s emotional and psychological state became even worse when her

father died. Constant anxiety about her father turned into constant anxiety in general.

       10.     The grief caused by her father’s death has affected both her personal and

professional life. For instance, Azadeh cannot watch movies with violence in them - which is very

difficult as a lot of good movies do contain violent scenes. On multiple occasions in the past several

years, during joyous events or holidays, Azadeh’s good mood has immediately evaporated when
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she remembered her father and his painful situation, resulting in her not being able to enjoy these

festive occasions. This has been the case on New Year’s Eve with my family in Latvia a couple of

years ago, as well as family trips to Romania and Hungary to meet our friends last year.

       11.     Another huge impact of her father’s story on her life is that Azadeh has to constantly

support her mother - both emotionally and professionally. When Azadeh moved to the United

States as a teenager, she had to constantly help her mom with everything due to her mother’s level

of English. A lot of her mother’s professional and personal communications - talking to banks,

doctors, employers, etc. - had to go through Azadeh, which is a lot when you’re a 16-year-old who

has just moved to a new country. Today, Azadeh continues to regularly help with her mother’s

affairs. As we currently live in London and her mother lives in Washington, D.C., Azadeh has

installed a remote camera in her mother’s apartment so she can check on her mother at all times.

In fact, because of this camera, earlier this year, Azadeh detected that her mother was sliding into

a depression and organized her mother’s three-month trip to Canada where her sister, Lily, lives.

       12.     During her teenage years, the impact of her father’s detention of course left Azadeh

with little time to herself - which is extremely important at that age. Unlike other teenagers, Azadeh

doesn’t have stories of fun times. Her teenage years were very serious, filled with tragic events

and sacrifices she made for her family. When we met, I asked Azadeh about her most memorable

New Year’s Eve and she replied that it was one time that she spent New Year’s Eve studying in a

library. Knowing Azadeh now, she does enjoy having fun like other people and if it wasn’t for the

Islamic Republic of Iran, her teenage years would have been different. Of course, her father’s

imprisonment and death has had a long-lasting effect on Azadeh, having missed out on so many

things during her adolescence and teenage years. Azadeh has a lot of regrets of not having more

positive experiences during these years - something that you cannot get back later in your life.
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       13.      Overall, Azadeh’s life continues to be impacted by her father’s years of detention,

torture, and his eventual death on a daily basis. As her husband, I have borne witness to how his

death has affected her ever since we met over ten years ago, and how its impact continues to this

day.




I declare and can competently testify under penalty of perjury that the foregoing is true and

correct.


Executed this _11_ day of _August_, 2021.




                                                     __________________________________

                                                     Glebs Zukovs
